           Case 4:21-cv-00012-BMM Document 1 Filed 02/05/21 Page 1 of 4



Jeffrey G. Winter
DUROCHER & WINTER, P.C.
118 6th St. South
P.O. Box 1629
Great Falls, MT 59403-1629
(406) 727-4020
jwinter@mtlawyers.net
Attorneys for Plaintiff




                   IN THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF MONTANA

                              GREAT FALLS DIVISION

JAYMEE AFTER BUFFALO,                     )
                                          )      Cause No.
              Plaintiff,                  )
                                          )                COMPLAINT
      -vs-                                )
                                          )
UNITED STATES OF AMERICA,                 )
                                          )
          Defendant.                      )
_______________________________           )


      Plaintiff, by and through her attorneys, alleges:

      1.      Plaintiff is a citizen and resident of Browning, Montana.

      2.      This Court has jurisdiction over this case pursuant to the Federal Tort

Claims Act, 28 U.S.C. 2671, et seq., in that the claim arises from the United States

Complaint                                                                 Page 1 of 4
           Case 4:21-cv-00012-BMM Document 1 Filed 02/05/21 Page 2 of 4



of America's conduct in providing health care services at Blackfeet Community

Hospital (BCH) in Browning, Montana.           BCH is an Indian Health Services

(IHS)-funded facility operated by the United States of America. The negligent acts

and omissions that are the subject of this action were committed by the Government's

agents and employees while acting within the course and scope of their employment.

This Court has exclusive jurisdiction over tort claims brought against the United

States of America pursuant to 28 U.S.C. § 1346(b).

      3.      Plaintiff’s claim was filed in writing with the United States of America

on May 11, 2020, with additional supporting documentation to complete the claim

being submitted August 10, 2020 and September 9, 2020. The United States has

not responded, and more than six (6) months has elapsed. Accordingly, Plaintiff

has appropriately exhausted her administrative remedies.

      4.      The acts and omissions giving rise to this claim occurred in Glacier

County, Montana, which is within the Great Falls Division. Venue is proper in the

Great Falls Division pursuant to Local Rule 3.2(b).

      5.      On October 1, 2019, Plaintiff underwent a laproscopic tubal ligation

procedure performed by Benjamin T. Eastham, MD at Blackfeet Community

Hospital in Browning, Montana. At the time of Plaintiff’s tubal ligation procedure,

Dr. Eastham was an employee of Blackfeet Community Hospital, Indian Health


Complaint                                                               Page 2 of 4
           Case 4:21-cv-00012-BMM Document 1 Filed 02/05/21 Page 3 of 4



Services, and the United States of America.

      6.      During the tubal ligation procedure on October 1, 2019, Dr. Eastham

negligently perforated Plaintiff’s small bowel in two locations, causing a through

and through enterotomy (complete penetration of small bowel, involving both

entrance and exit wounds).

      7.      Five days later, on October 6, 2019, Plaintiff presented to the

emergency room at Blackfeet Community Hospital with complaints of abdominal

pain, nausea and vomiting. Plaintiff’s clinical presentation suggested sepsis from a

bowel perforation.

      8.      The same day, October 6, 2019, Plaintiff was flown by helicopter to

Benefis Healthcare in Great Falls, Montana, where she underwent surgery to repair

a through and through enterotomy and washout of purulent peritonitis (infection of

abdominal cavity). Plaintiff remained hospitalized at Benefis Healthcare for 10

days, until her discharge on October 15, 2019.

      9.      The Blackfeet Community Hospital and Benjamin T. Eastham, MD

breached the applicable standard of medical care by negligently causing Plaintiff’s

small bowel to be perforated through and through during a laproscopic tubal ligation

procedure.

      10.     Blackfeet Community Hospital and Benjamin T. Eastham, MD were


Complaint                                                              Page 3 of 4
           Case 4:21-cv-00012-BMM Document 1 Filed 02/05/21 Page 4 of 4



also negligent and breached the applicable standard of medical care by failing to

recognize and treat Plaintiff’s multiple bowel perforations prior to concluding the

laproscopic tubal ligation procedure.

      11.     As a result of said negligence and breaches of the applicable standard

of medical care, Plaintiff has suffered damages, which include but are not necessarily

limited to, additional medical expenses, physical and emotional pain and suffering,

loss of established course of life, and loss of enjoyment of life.

      WHEREFORE, PLAINTIFF PRAYS:

      1.      For an award of general and special damages sufficient to compensate

Plaintiff for medical expenses, other expenses, physical and emotional pain and

suffering, loss of established course of life, loss of enjoyment of life, and all other

damages suffered by Plaintiff as a result of the negligence and breaches of the

applicable standard of medical care by Blackfeet Community Hospital and Benjamin

T. Eastham, MD;

      2.      For costs and fees as allowed by law; and,

      3.      For all other relief the Court deems appropriate.

      DATED this 5th day of February, 2021.


                                                      /s/ Jeffrey G. Winter
                                                      DUROCHER & WINTER, P.C.


Complaint                                                                Page 4 of 4
